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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE


CRYSTAL MASSENGILL,

       Plaintiff,

vs.                                                           Case No. 2:22-cv-02687-MSN-cgc

CONCORDE CAREER COLLEGES, INC,

       Defendant


                           JOINT STIPULATION OF DISMISSAL


       Pursuant to Federal R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Crystal Massengill and Defendant

Concorde Career Colleges, Inc., hereby stipulate to the dismissal of all claims brought in this action

with prejudice. Each party shall pay their own attorneys’ fees and discretionary costs.

RESPECTFULLY SUBMITTED:

s/ William E. Cochran, Jr.
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